                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION—FLINT

IN THE MATTER OF:
JACOB AND HOLLIE HEIKKINEN,                           Chapter 7
                                                      Case No. 15-30653-dof
            Debtors,                                  Honorable Daniel S. Opperman
_______________________________/
DENNIS STIMA,

               Plaintiff,
                                                      Adv. Proc. Case No. 15-03144-dof
v.                                                    Honorable Daniel S. Opperman

JACOD AND HOLLIE HEIKKINEN,

            Defendants.
_______________________________/

       OPINION AWARDING DEFENDANTS ATTORNEY’S FEES ARISING FROM
        PLAINTIFF’S MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

        On May 12, 2006, the Court entered an Order granting Plaintiff’s Motion for Leave to

File Amended Complaint Objecting to Discharge and to Determine Dischargeability of

Indebtedness. Per that Order, Plaintiff was allowed to file an amended complaint “conditioned

upon consideration at a later date by the Court as to Defendants’ expenses incurred” in

responding to Plaintiff’s Motion for Leave.     The Court further stated that after reviewing

Defendants’ statement of costs and fees, and Plaintiff’s response to same, the Court would issue

a written order determining the amount, if any, of the stated costs and fees it would award

Defendants.   The Court has reviewed the relevant pleadings and exhibits and makes the

following findings and determinations.

The Underlying Bankruptcy

        Defendants are debtors in Case No. 15-30653, the bankruptcy underlying this adversary

proceeding. Defendants commenced their bankruptcy on March 18, 2015, and the Defendants’


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Creditors Meeting was scheduled for April 27, 2015. Plaintiff’s counsel attended the Creditors

Meeting, interrogating Defendants and then requesting Defendants voluntarily produce certain

discoverable information.    The request was in furtherance of Plaintiff’s efforts to assess

Defendants’ financial situation to determine whether an adversary proceeding was appropriate.

       The original deadline for filing an adversary proceeding objecting to dischargeability was

June 26, 2015. On that day, Plaintiff asked the Court to extend the deadline. According to

Plaintiff, further discovery was necessary to determine the propriety of an adversary complaint.

The Court granted Plaintiff’s request, extending the deadline for filing an adversary complaint

objecting to dischargeability to September 30, 2015.

The Adversary Proceeding

       Plaintiff filed his original adversary complaint on September 30, 2105, the last possible

day to do so. In response to Plaintiff’s adversary complaint, Defendants filed a motion to

dismiss. On November 13, 2015, Plaintiff requested additional time to respond to Defendants’

motion, and received same. Seven days later, Plaintiff responded to Defendants’ motion to

dismiss. The Court held a hearing on that motion on January 6, 2016. At that hearing, Plaintiff

raised for the first time the possibility of amending his complaint. Plaintiff did not amend as of

right before Defendants filed their motion to dismiss and as of the January 6th hearing, Plaintiff

had not filed a written motion seeking leave to amend his complaint.

       The Court entered an Order dismissing some of the counts in Plaintiff’s original

complaint on March 10, 2016. Thereafter, on March 31, 2016, Plaintiff filed his first written

request for leave to amend his complaint. Following Defendants’ response to same, the Court

held a hearing on Plaintiff’s request for leave to amend. The Court granted that request subject




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to the conditions described in the first paragraph of this Order. Per those conditions, the Court

awards attorney’s fees to Defendants as discussed below.

The Award of Attorneys’ Fees

       A federal court has the inherent power to assess attorney’s fees when a litigant abuses the

judicial process. Chambers v. Nasco, Inc. 501 U.S. 32, 43 (1991).           This is one of certain

implied powers vested in federal courts to “manage their own affairs so as to achieve the orderly

and expeditious disposition of cases.” Id. at 43. Here, Plaintiff abused process and interfered

with the Court’s ability to manage its own affairs and expeditiously dispose of this case.

       Plaintiff failed to properly plead his original counts, despite the Court allowing generous

pre-suit discovery. Additionally, Plaintiff did not amend his complaint as of right and did not

seek leave to amend his complaint until the day of a hearing at which it became apparent his

original complaint was deficient. Even then, Plaintiff raised amendment only orally at the

hearing. Plaintiff did not file a motion for leave to amend until after the Court dismissed some

counts in his complaint, despite receiving extra time to respond to Defendants’ motion to

dismiss.

       Plaintiff could and should have included a request for leave to amend in his response to

Defendants’ motion to dismiss. If Plaintiff had done that, the amendment would have been

briefed and argued at the hearing on Defendants’ motion to dismiss. Instead, Plaintiff waited

until after that hearing to move in writing, delaying the matter and creating the need for an

additional hearing.

       Because of Plaintiff’s conduct, this case is behind schedule and will remain on the

Court’s docket longer than necessary. Additionally, Plaintiff’s actions led to a hearing that was

not necessary, to deal with matters that should have been addressed in prior proceedings before



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the Court. Accordingly, the Court exercises its inherent power to assess attorney’s fees against

Plaintiff for Plaintiff’s failure to properly manage this case. See Chambers, 501 U.S. at 43.

       The Court does not, however, award all the costs and fees Defendants request. Instead,

the Court will only award fees and costs incurred directly as a result of Plaintiff’s

mismanagement of this case. See Checker Motors Corp. v. Checker Acquisition Corp, et al., 463

B.R. 858 (Bankr.W. D.Mich. 2012). Had Plaintiff managed this matter correctly, he would have

filed a written request for leave to amend earlier and Defendants’ counsel almost certainly would

have faced the same research and drafting requirement and attended a hearing on that issue. The

only extra work Defendants’ counsel endured due to Plaintiff’s mismanagement of this case

involved scheduling and attending a second and unnecessary hearing to address the issue.

       Accordingly, the Court Orders Plaintiff to pay to Defendants the total of $325.00 in costs

and fees resulting from Plaintiff’s failure to properly plead his original counts. This amount

includes $32.50 in attorney’s fees arising from Defendants’ counsel’s review of the notice of

hearing for the second, unnecessary hearing. It also includes $292.50 in attorney’s fees arising

from Defendants’ counsel’s preparation for and attendance at the second, unnecessary hearing.

Plaintiff must make this payment within 30 days of the date of this Order. If Plaintiff fails to

timely make this payment, upon affidavit to such effect filed by Defendants’ counsel, the Court

will dismiss with prejudice Plaintiff’s Amended Complaint and close this case.

       The Court directs Plaintiff to prepare and submit an Order consistent with this Opinion.

Not for publication
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Signed on August 05, 2016

                                             ____ _/s/ Daniel S. Opperman_    __
                                                  Daniel S. Opperman
                                                  United States Bankruptcy Judge

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